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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEUSJUH_? PH 2151
WESTERN DIVISION

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PHIL HANNA' VMD,OFTN,MEMMMS

Plaintiff,
vs.

NO. 04-2397BV

AMERICAN REPUBLIC INSURANCE CO.,

Defendant.

 

ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND COMPLAINT

 

Before the court is the motion of the plaintiff, Phil Hanna,
served on the defendant on May 13, 2005, pursuant to Rule 15(a) of
the Federal Rules of Civil Procedure for leave to amend his
complaint to add an additional cause of action under 29 U.S.C. §
1132.

Pursuant to Local Rule 7.2(a)(2), responses to motions in
civil cases are to be filed within fifteen days after service of
the motion. The defendant has not filed a response to this motion,
and the time for responding has now expired. Rule 7.2(a)(2)
further provides that “[f]ailure to respond timely to any motion .

may be deemed good grounds for granting the motion.”

In the absence of any response by the defendant, the
plaintiff's motion to amend his complaint is granted. The

plaintiff shall file his amended complaint within ten (lO) days or

 
 

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the date of entry of this order and serve a copy on the defendant.

The court notes that the plaintiff failed to file a
certificate of consultation with counsel for the opposing party as
required by Local Rule 7.2(a)(l)(B). All non-dispositive motions
must be accompanied by a certificate of counsel affirming that
“after consultation between the parties to the controversy, they
are unable to reach an accord as to all issues or that all other
parties are in agreement with the action requested by the motion.”
Id. Local Rule 7.2(a)(l)(B) further provides that failure to file
the certificate “may be deemed good grounds for denying the
motion." In the future, failure to consult and to file a
certificate of consultation will result in the motion being denied.

IT IS SO ORDERED this 7th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CV-02897 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

